Case 20-10678-amc      Doc 70     Filed 12/29/20 Entered 12/29/20 18:31:31             Desc Main
                                  Document     Page 1 of 2



                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                    PHILADELPHIA DIVISION


      In re: HAROLD EVANS                              )
              Debtor(s)                                )
                                                       )   CHAPTER 13
      SANTANDER CONSUMER USA INC.                      )
           Moving Party                                )   Case No.: 20-10678 (AMC)
                                                       )
         v.                                            )
                                                       )   Hearing Date: 1-19-21 at 11:00 AM
      HAROLD EVANS                                     )
          Respondent(s)                                )   11 U.S.C. 362
                                                       )
      WILLIAM C. MILLER                                )
           Trustee                                     )
                                                       )
                                                       )
                       MOTION FOR RELIEF FROM THE AUTOMATIC STAY

      TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

              Comes now Santander Consumer USA, Inc. (“Santander”) filing this its Motion For
      Relief From The Automatic Stay (“Motion”), and in support thereof, would respectfully show:

              1. That on February 3, 2020, Harold Evans filed a voluntary petition under Chapter 13 of
      the Bankruptcy Code.

              2. This Court has jurisdiction of the Motion by virtue of 11 U.S.C. 105, 361, 362, and
      28 U.S.C. 157 and 1334.
              3. On September 21, 2018, the Debtor entered into a retail installment contract for the
      purchase of a 2014 Mini Cooper bearing vehicle identification number
      WMWZB3C5XEWM31912. The contract was assigned to Santander Consumer USA Inc. and
      the Debtor became indebted to Santander in accordance with the terms of same. Santander
      Consumer USA Inc. is designated as first lien holder on the title to the vehicle and holds a first
      purchase money security interest in the vehicle. A true copy of the contract and title inquiry to
      the vehicle are annexed hereto as Exhibits A and B.



                                                    Page 1
Case 20-10678-amc       Doc 70    Filed 12/29/20 Entered 12/29/20 18:31:31                Desc Main
                                  Document     Page 2 of 2


             4. As of December 17, 2020, the Debtor’s account with Santander had a net loan balance
      of $9,419.86.
             5. According to the December 2020 NADA Official Used Car Guide, the vehicle has a
      current retail value of $10,550.00.
             6. The Debtor’s account is past due post-petition from March 5, 2020 to
      December 5, 2020 with arrears in the amount of $2,143.29.
             7. Santander Consumer USA Inc. alleges that the automatic stay should be lifted for
      cause under 11 U.S.C. 362(d)(1) in that Santander lacks adequate protection of its interest in the
      vehicle as evidenced by the following:
                      (a) The Debtor is failing to make payments to Santander and is failing to provide
             Santander with adequate protection.
                      (b) Santander has been unable to verify that the vehicle is insured; if the Debtor
             contests this Motion, he must provide Santander with proof of valid, current insurance by
             the date of the hearing.


             WHEREFORE PREMISES CONSIDERED, Santander Consumer USA Inc. respectfully
      requests that upon final hearing of this Motion, (1) the automatic stay will be terminated as to
      Santander to permit Santander to seek its statutory and other available remedies; (2) that the stay
      terminate upon entry of this Order pursuant to the authority granted by Fed.R.Bank.P., Rule
      4001(a)(3) and (3) Santander be granted such other and further relief as is just.




      Respectfully submitted,

      /s/ William E. Craig
      William E. Craig
      Morton & Craig LLC
      110 Marter Avenue, Suite 301
      Moorestown, NJ 08057
      Phone: 856/866-0100, Fax: 856/722-1554
      Attorney ID: 92329
      Local Counsel for Santander Consumer USA Inc.




                                                    Page 2
